Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 1 of 33


                           No. 21-CV-9322 (JPO)

                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


                           RHC OPERATING LLC,


                                                                          Plaintiff,
                                                   -against-

                           CITY OF NEW YORK, and BILL DE BLASIO, in his
                           official capacity as Mayor of New York City, and New
                           York City Council Members—Adrienne E. Adams, Alicka
                           Ampry-Samuel, Diana Ayala, Justin L. Brannan, Selvena
                           N. Brooks-Powers, Fernando Cabrera, Margaret S. Chin,
                           Robert E. Cornegy, Jr., Laurie A. Cumbo, Ruben Diaz,
                           Sr., Darma V. Diaz, Eric Dinowitz, Daniel Dromm,
                           Mathieu Eugene, Oswald Feliz, James F. Gennaro,
                           Vanessa L. Gibson, Mark Gjonaj, Barry S. Grodenchik,
                           Robert F. Holden, Corey D. Johnson, Ben Kallos, Peter A.
                           Koo, Karen Koslowitz, Brad S. Lander, Stephen T. Levin,
                           Alan N. Maisel, Carlos Menchaca, Francisco P. Moya,
                           Keith Powers, Kevin C. Riley, Carlina Rivera, Ydanis A.
                           Rodriguez, Deborah L. Rose, Helen K. Rosenthal, Rafael
                           Salamanca, Jr., Mark Treyger, Eric A. Ulrich, Paul A.
                           Vallone, and James G. Van Bramer,

                                                                       Defendants.


                           DEFENDANTS’ MEMORANDUM OF LAW IN
                           OPPOSITION TO PLAINTIFF’S MOTION FOR A
                           TEMPORARY/PRELIMINARY INJUNCTION


                                           GEORGIA M. PESTANA
                                  Corporation Counsel of the City of New York
                                      Attorney for Defendants
                                      100 Church Street
                                      New York, N.Y. 10007

                                       Of Counsel: Melanie V. Sadok
                                       Tel: (212) 356-4371
                                       Matter No. 2021-038962
             Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 2 of 33




                                                   TABLE OF CONTENTS

                                                                                                                                         Page

TABLE OF AUTHORITIES ......................................................................................................... iii

PRELIMINARY STATEMENT AND BACKGROUND.............................................................. 1

ARGUMENT.................................................................................................................................. 3

                     PLAINTIFF HAS FAILED TO ESTABLISH THAT IT IS
                     ENTITLED TO THE DRASTIC REMEDY OF
                     TEMPORARY OR PRELIMINARY INJUNCTIVE
                     RELIEF ....................................................................................................................3

                     A. Plaintiff Has Failed to Show that Irreparable Harm
                        Would Result if a Temporary Restraining Order is Not
                        Granted...............................................................................................................5

                     B. A Temporary Restraining Order Is Not in the Public
                        Interest................................................................................................................7

                     C. The Severance Law Does Not Violate the Constitution’s
                        Contracts Clause ................................................................................................8

                          (a) There is No Contractual Relationship at Issue.............................................9

                          (b) The Law Does not Substantially Impair the IWA .....................................10

                          (c) The Law Serves a Public Purpose and is Reasonable
                              and Appropriate..........................................................................................13

                     D. The Severance Law is Not Unconstitutionally Vague .....................................16

                     E. Plaintiff’s Substantive Due Process Rights Have Not
                        Been Violated...................................................................................................18

                     F. Equal protection ...............................................................................................19

                     G. Plaintiff is not Likely to Succeed on its Claim of ERISA
                        Preemption .......................................................................................................21

                     H. Plaintiff is not Likely to Succeed on its Claim of National
                        Labor Relations Act (NLRA) Preemption .......................................................24
             Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 3 of 33




                                                                                                                                   Pages

                                                 TABLE OF AUTHORITIES



Cases

520 S. Mich. Ave. Assocs., Ltd. v. Shannon,
   549 F.3d 1119 (7th Cir. 2008)......................................................................................................25

Ambrose v. City of White Plains,
   2018 WL 1635498, *18 (S.D.N.Y. 2018),
  aff’d, Barr v. City of White Plains, 779 F App’x 765 (2d Cir. 2019) ...............................................10

Andino v. Fischer,
   555 F. Supp. 2d 418 (S.D.N.Y. 2008).............................................................................................3

Arriaga v. Mukasey,
    521 F3d 219 (2d Cir 2008) ..........................................................................................................16

Atkins v. CB&I, L.L.C.,
    991 F.3d 667 (5th Cir. 2021) .......................................................................................................23

Barr v. City of White Plains,
   779 F. App’x 765 (2d Cir. 2019)..................................................................................................14

Bd. of County Commrs. v. E. Prince Frederick Corp.,
    80 Md App 78, 559 A2d 822 (1989) ............................................................................................13

Beatie v. City of New York,
   123 F.3d 707 (2d Cir. 1997) ........................................................................................................19

Broecker v. New York City Dep’t of Educ.,
   2021 WL 226848 (S.D.N.Y. Nov. 24, 2021)...................................................................................7

Buffalo Teachers Fedn. v. Tobe,
    464 F3d 362 (2d Cir. 2006) .........................................................................................................12

California Grocers Assoc, v. City of Long Beach,
   2021 WL 3500960 (C.D. Cal. Aug. 9, 2021).................................................................................11

California v. Texas,
   141 S.Ct. 2104 (2021)...................................................................................................................5

Capitol Pedicabs, LLC. v. City of New York,
   2017 U.S. Dist. LEXIS 163994 (S.D.N.Y. 2017) ..........................................................................20

Citibank, N.A. v. Cityrust,
    756 F.2d 271 (2d Cir. 1985) ..........................................................................................................7


                                                                     ii
             Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 4 of 33




City of Cleburne v. Cleburne Living Ctr.,
    473 U.S. 432 (1985)....................................................................................................................19

Concerned Home Care Providers, Inc. v. Cuomo,
   783 F.3d 77 (2d Cir. 2015) ..........................................................................................................25

Copeland v. Vance,
   893 F.3d 101 (2d Cir. 2018) ........................................................................................................18

Dickerson v. Napolitano,
   604 F.3d 732 (2d Cir. 2010) ........................................................................................................17

Donohue v. Paterson,
   715 F. Supp. 2d 306 (N.D.N.Y. 2010).................................................................................... 10, 12

Energy Reserves Grp., Inc. v. Kan. Power & Light Co.,
   459 U.S. 400 (1983)................................................................................................................8, 14

Exxon Corp. v. Busbee,
   644 F.2d 1030 (5th Cir), cert. denied, 454 U.S. 932 (1981) ...........................................................17

Ferran v. Town of Nassau,
   471 F.3d 363 (2d Cir. 2006) ........................................................................................................19

Fox Ins. Co. v. Envision Pharm. Holdings, Inc.,
   2009 WL 790312 (E.D.N.Y. Mar. 23, 2009)...................................................................................6

Freedom Holdings, Inc. v. Spitzer,
   408 F.3d 112 (2d Cir. 2005) ..........................................................................................................6

Gen.Offshore Corp. v. Farrelly,
   743 F. Supp. 1177 (D.V.I. 1990)..................................................................................................11

General Motors Corp. v. Romein,
   503 U.S. 181 (1992)....................................................................................................................11

Golden Gate Rest. Ass’n v. County of San Francisco,
   546 F.3d 639 (9th Cir. 2008) .......................................................................................................23

Grande River Enter Six Nations, Ltd. V. Pryor,
   481 F.3d 60 (2d Cir. 2007) ............................................................................................................4

Hagar v. Reclamation Dist. No. 108,
   111 US 701 (1884) .......................................................................................................................9

Heller v. Doe,
    509 U.S. 312 (1993)....................................................................................................................21

Home Bldg. & Loan Ass’n v. Blaisdell,
  290 U.S. 398 (1934)................................................................................................................ 8, 10


                                                                     iii
             Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 5 of 33




James v. Fleet/Norstar Fin. Group,
   992 F.2d 463 (2d Cir. 1993) .................................................................................................. 22, 23

Keystone Bituminous Coal Ass’n v. DeBenedictis,
   480 U.S. 470 (1987)....................................................................................................................15

Lodge 76, Int’l Ass’n of Machinists & Aerospace Workers, AFL-CIO v. Wisconsin
   Employment Relations Comm’n,
   427 U.S. 132 (1976)....................................................................................................................24

Lowrance v. C.O. S. Achtyl,
   20 F.3d 529 (2d Cir. 1994) ..........................................................................................................19

Marblegate Asset Mgmt. v. Educ. Mgmt. Corp.,
   75 F. Supp. 3d 592 (S.D.N.Y. 2014) ..............................................................................................6

Melendez v. City of New York
   (2d Cir. No. 20-4238), ECF No. 149 ............................................................................................15

Melendez v. City of NY,
   2021 16 F.4th 992 (2d Cir. 2021 ............................................................................................ 15, 16

Metropolitan Life Ins. Co. v. Mass.,
   471 U.S. 724 (1985)....................................................................................................................24

Moore v. Consol. Edison Co.,
  409 F.3d 506 (2d Cir. 2005) ..........................................................................................................4

New York State Rifle & Pistol Ass'n v. Cuomo,
   804 F.3d 242 (2d Cir. 2014) ........................................................................................................18

Oeoe-Missouria Tribe of Indians v. N.Y. State Dep't of Fin. Servs.,
   769 F.3d 105 (2d Cir. 2014) ..........................................................................................................4

Okun v. Montefiore Med. Ctr.,
   793 F.3d 277 (2d Cir. 2015) ............................................................................................ 21, 22, 23

Oneida Nation of N.Y. v. Cuomo,
   645 F.3d 154 (2d Cir. 2011) ..........................................................................................................4

Plaza Motors of Brooklyn, Inc. v. Cuomo,
    No. 20-CV-4851, 2021 WL 222121 (E.D.N.Y. Jan. 22, 2021) ................................................... 4, 20

Rhode Island Hospitality Ass’n v. City of Providence,
   667 F.3d 17 (1st Cir. 2011).....................................................................................................10,11

Rodriguez by Rodriguez v. DeBuono,
   175 F.3d 227 (2d Cir. 1998) ..........................................................................................................5

Rondout Elec., Inc. v. N.Y. State DOL,
   335 F.3d 162 (2d Cir. 2003) .................................................................................................. 24, 25

                                                                    iv
             Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 6 of 33




Russell v. Allied Textile Cos., Plc (in Re Carleton Woolen Mills, Inc.),
   288 B.R. 7 (Bank Ct. D.of Maine 2003) ................................................................................... 9, 10

S. Cal. Healthcare Sys. v. City of Culver City,
    2021 WL 3160524 (C.D.Cal. July 23, 2021).................................................................................11

Sal Tinnerello & Sons, Inc. v. Town of Stonington,
    141 F.3d 46 (2d Cir. 1998) ..........................................................................................................15

Schonholz v. Long Island Jewish Med. Ctr.,
   87 F.3d 72 (2d Cir. 1996) ...................................................................................................... 21, 22

Slattery v. Cuomo,
    2021 WL 1224008 (N.D.N.Y. Mar. 31, 2021)...............................................................................17

Smith v Evening News Assn.,
   371 U.S. 195 (1962)....................................................................................................................11

Stoneridge Apts., Co. v. Lindsay,
    303 F Supp 677 (S.D.N.Y. 1969) ...................................................................................................9

Sveen v. Melin,
   138 S. Ct. 1815 (2018)............................................................................................................ 8, 12

Thibodeau v. Portuondo,
    486 F.3d 61 (2d Cir. 2007) ..........................................................................................................16

Toney-Dick v. Doar,
   2013 WL 1314954 (S.D.N.Y. Mar. 18, 2013) .................................................................................6

U.S. Trust Co. v. New Jersey,
   431 U.S. 1 (1977) .........................................................................................................................8

United States v. Peters,
   732 F.3d 93 (2d Cir. 2013) ..........................................................................................................17

United States v. Raines,
   362 U.S. 17 (1960) .....................................................................................................................17

United States v Yücel,
   97 F. Supp 3d 413 (S.D.N.Y. 2015) .............................................................................................17

Usery v. Turner Elkhorn Mining Co.,
   428 U.S. 1 (1976) .......................................................................................................................18

Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc.,
     455 U.S. 489 (1982)....................................................................................................................17

Vill. of Willowbrook v. Olech,
     528 U.S. 562 (2000).............................................................................................................. 19, 20



                                                                      v
             Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 7 of 33




Vizio Inc. v. Klee,
    2016 WL 1305116 (D. Conn. 2016)....................................................................................... 18, 21

West Coast Hotel Co. v.Parrish,
   300 U.S. 379 (1937)....................................................................................................................13

Whole Woman's Health v. Jackson,
   141 S.Ct. 2494 (2021)...................................................................................................................5

Statutes

22 U.S.C. § 4102(6)..........................................................................................................................18




                                                                      vi
         Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 8 of 33




                  PRELIMINARY STATEMENT AND BACKGROUND

       Plaintiff challenges New York City Local Law 104 of 2021 (the “Severance Law” or the

“Law”), a law designed to provide short-term financial assistance to hotel service workers who

were laid off during the COVID-19 pandemic, as well as to encourage the reopening of hotels to

boost tourism in New York City. The arrival of the COVID-19 pandemic in March 2020 had severe

economic consequences for New York City. Among those consequences was a steep decline in

tourism, the closure of many hotels in New York City and the unemployment of thousands of hotel

service workers. See The Council of The City of New York, Committee Report of the

Governmental Affairs Division, Committee on Consumer Affairs And Business Licensing, pp. 22-

24 (Sept. 15, 2021) (the “Sept. 15 Committee Report”) annexed as Exhibit 1 to the Declaration of

Rachel Kane, dated December 14, 2021 (“Kane Decl.”).

       Recognizing this impact, the City of New York (the “City”) acted, passing a number of

laws designed to alleviate the impact of the pandemic on New Yorkers and the City’s economic

health, including laws to protect workers, tenants, restaurants, property owners, and now hotel

workers and the hotel industry. While conditions have improved over time, the hotel industry has

not yet fully recovered, and the City and State expect a loss of approximately $1.3 billion in tax

revenue from the impact of the hotel industry. See Kane Decl. Ex. 1 at 22-24. As of September

2021, when temporary supplemental federal unemployment benefits were set to expire, as many

as sixty percent of the approximately 300,000 hotel workers in New York City remained

unemployed. See id.

       In response to this continuing situation, and in an effort to “improv[e] the economic lives

of working New Yorkers” and to incentivize hotels to reopen, on October 5, 2021, the City enacted

the Severance Law. The Council of the City of New York, Committee on Consumer Affairs and
           Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 9 of 33




Business Licensing, Transcript of Hearing on Introductions 499, 508, 974, 2318 and 2397 at 15:10-

16:22, 24:4-10 (Sept. 15, 2021), annexed as Exhibit 2 to the Kane Decl.

         The Severance Law requires that hotels that had more than 100 rooms as of March 1, 2020

(prior to the steep decline in tourism caused by the pandemic), and that either closed or laid off

more than seventy-five percent of their employees during any thirty-day period (a “mass layoff”)

after March 1, 2020, pay a fixed amount of severance to certain former employees on a weekly

basis for a maximum of thirty weeks. Hotels are excluded from coverage under the law if they (a)

recalled at least twenty-five percent of their employees prior to October 11, 2021, and reopened

prior to November 1, 2021, (b) closed permanently and have been converted, or are being

converted, to another use, provided they offer severance to former employees in connection with

that conversion, 1 or (c) closed due to a lockout or a strike. Severance Law §§ 1, 3. In addition, a

hotel that had closed after March 1, 2020, and reopens after November 1, ceases to have any

obligation to pay severance under the Law as of the date it reopens, provided it has recalled at least

twenty-five percent of the employees it employed as of March 1, 2020. Id. § 3(b).

         Plaintiff, a covered hotel under the Law, seeks temporary and preliminary injunctive relief

enjoining the enforcement of the Law. Plaintiff alleges that the Law violates its constitutional

rights, in particular by violating the Contracts, Due Process, and Equal Protection Clauses. Plaintiff

also asserts that the Law is preempted by the federal Employee Retirement Income Security Act

(“ERISA”), the federal National Labor Relations Act, as well as the New York State Employment

Relations Act and Unemployment Insurance Law.



1 In order to qualify for this exemption, a permanently closed hotel must offer severance pay to former employees who
would otherwise have been entitled to severance pay under the Law “specifically for such conversion in an amount
that equals no less than pay for 20 days per year of service, at the same rate that such employee is paid for paid days
off.” Severance Law § 3(a).


                                                          2
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 10 of 33




         Plaintiff is not entitled to temporary or preliminary injunctive relief. Plaintiff has failed to

meet its burden of demonstrating irreparable harm. Plaintiff’s allegations of “insolvency” are

speculative and unsupported. Further, an injunction is not in the public’s best interest. Finally,

Plaintiff is not likely to succeed on the merits of any of its federal claims. 2 Plaintiff’s Contracts

Clause claim, which is the only claim Plaintiff briefed in support of its motion, 3 is not likely to

succeed as Plaintiff has not established through the pleadings that a contractual relationship even

exists. Plaintiff’s due process and equal protection claims are also unlikely to succeed because the

Law is an economic and social regulation that does not implicate a protected class or fundamental

rights and thus is entitled to a presumption of constitutionality and substantial deference. Finally,

Plaintiff’s preemption arguments will also fail. The Severance Law does not require establishment

of an ERISA plan, nor does it interfere with the process of collective bargaining. Rather, it creates

a minimum labor standard that is not preempted. Thus, as more fully explained below, Plaintiff’s

motion for a temporary and preliminary injunction should be denied in its entirety.

                                                  ARGUMENT

      PLAINTIFF HAS FAILED TO ESTABLISH THAT IT IS ENTITLED TO THE
    DRASTIC REMEDY OF TEMPORARY OR PRELIMINARY INJUNCTIVE RELIEF

         In is well established that in the Second Circuit “the standard for an entry of a TRO is the

same as for a preliminary injunction.” Andino v. Fischer, 555 F. Supp. 2d 418, 419 (S.D.N.Y.

2008). The TRO and preliminary injunction are extraordinary and drastic remed[ies] “that ‘should

2 Plaintiff is not likely to succeed on the merits of its State preemption claims either. The NY State laws Plaintiff
claims preempt the Law address different fields. Unemployment insurance is not the same as severance pay, and the
language of the Unemployment Insurance Law makes that clear. The Employment Relation Act governs the
procedures of collective bargaining, and not the substance. Defendants have not fully briefed these arguments because
Plaintiff’s motion did not address them the Court need not exercise supplemental jurisdiction over them.

3Plaintiff’s initial memorandum of law in support of its motion did not address its likelihood of success on the merits
of any of its claims. See ECF 19. The Court provided Plaintiff with the opportunity to supplement its briefing and on
December 6, 2021 Plaintiff filed a supplemental memorandum of law that only briefly addressed the merits of its
Contracts Clause claim. See ECF 30.


                                                          3
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 11 of 33




not be granted unless the movant, by a clear showing, carries the burden of persuasion.’” Grande

River Enter Six Nations, Ltd. V. Pryor, 481 F.3d 60, 66 (2d Cir. 2007) (quoting Moore v. Consol.

Edison Co., 409 F.3d 506, 510 (2d Cir. 2005)).“[C]ourts generally grant preliminary injunctions

only ‘where a plaintiff demonstrates “irreparable harm” and meets one of two related standards:

“either (a) a likelihood of success on the merits, or (b) sufficiently serious questions going to the

merits of its claims to make them fair ground for litigation, plus a balance of the hardships tipping

decidedly in favor of the moving party.”’ Plaza Motors of Brooklyn, Inc. v. Cuomo, No. 20-CV-

4851, 2021 WL 222121, at *10 (E.D.N.Y. Jan. 22, 2021) (quoting Oeoe-Missouria Tribe of

Indians v. N.Y. State Dep't of Fin. Servs., 769 F.3d 105, 110 (2d Cir. 2014)). However, “the less

rigorous fair-ground-for-litigation standard” is not available here, “where the moving party seeks

to stay governmental action taken in the public interest pursuant to a statutory or regulatory

scheme.” Plaza Motors, 2021 WL 222121, at *10 (quoting Plaza Health Labs., Inc. v. Perales,

878 F.2d 577, 580 (2d Cir. 1989)). “This exception reflects the idea that governmental policies

implemented through legislation or regulations developed through presumptively reasoned

democratic processes are entitled to a higher degree of deference and should not be enjoined

lightly.” Plaza Motors, 2021 WL 222121, at *10 (quoting Able, 44 F.3d at 131). “The moving

party also must demonstrate a preliminary injunction is in the public interest.” Plaza Motors, 2021

WL 222121, at *10-11 (citing Oneida Nation of N.Y. v. Cuomo, 645 F.3d 154, 164 (2d Cir. 2011)).

         As a preliminary matter, to the extent Plaintiff seeks to enjoin the Severance Law, 4 the

Supreme Court has recently made clear that the Courts cannot enjoin a law, but may only enjoin



4 Plaintiff argues that it will incur “extreme economic burdens” if the Severance Law is “permitted to stand” (Supp.
Mem. 2; see also id. 5 (alleging economic harm “if the Law is left to stand”). Additionally, the proposed order states
that “it is in the public interest to enjoin this Law.” ECF 22. Elsewhere in Plaintiff’s briefing, Plaintiff seeks to enjoin
enforcement of the Law.


                                                             4
        Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 12 of 33




those responsible for enforcing the law. To the extent Plaintiff seeks to enjoin enforcement of the

Law, as the Defendants have no enforcement power, no injunction against Defendants may ensue.

See Whole Woman's Health v. Jackson, 141 S.Ct. 2494, 2495 (2021) (“[F]ederal courts enjoy the

power to enjoin individuals tasked with enforcing laws, not the laws themselves.”) (citing

California v. Texas, 141 S.Ct. 2104, 2115-2116 (2021)). Thus, the temporary or preliminary

injunctive relief sought is not available.

A.    Plaintiff Has Failed to Demonstrate Irreparable Harm

        “Irreparable harm is the single most important prerequisite for the issuance of a preliminary

injunction.” Rodriguez by Rodriguez v. DeBuono, 175 F.3d 227, 233-34 (2d Cir. 1998) (internal

citations omitted). Plaintiff claims to have demonstrated “per se” irreparable harm, as it alleges

constitutional violations under the Contract Clause, the Due Process Clause, and the Equal

Protection Clause of the United States Constitution. Pl. Br. at 4. Plaintiff also claims economic

harm, asserting that Plaintiff’s “solvency” is “threaten[ed]” by reopening the hotel or alternatively

paying the severance, and defending any potential litigation. Ghaffar Decl. ¶ 8-10; see also, e.g.,

Compl. ¶¶ 68, 91 and 100. In its Supplemental Memorandum, Plaintiff also asserts that if the

injunction it seeks is not granted, the Union may demand “emergency” hearings in the meantime

and win an industry-wide award to enforce the Law on behalf of all employees to which it applies,

“creat[ing] judicial inefficiencies” and making any eventual economic recovery more difficult “if

the Law were eventually struck down.” Pl. Supp. Mem. 4-5.

       Plaintiff will not suffer per se irreparable harm absent injunctive relief because, as set forth

below, Plaintiff’s constitutional claims lack merit. See, e.g., L.T. v. Zucker, WL 4775215

(N.D.N.Y. Oct. 13, 2021) (holding that plaintiffs seeking to enjoin enforcement of COVID-19-

related mask mandate failed to show irreparable harm predicated on Constitutional infringement

because they did not demonstrate that they were likely to prevail on their First Amendment claim).
                                                  5
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 13 of 33




         Plaintiff’s allegations in the Complaint and its moving papers about potential economic

harms are insufficient to establish that it faces an irreparable injury because they lack specificity

and are speculative. A plaintiff must demonstrate that the injury it will suffer “‘is neither remote

nor speculative, but actual and imminent.’” Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 114

(2d Cir. 2005) (quoting Rodriguez by Rodriguez v. DeBuono, 175 F.3d 227, 234-35 (2d Cir. 1998));

Grand River, 481 F.3 at 66 (citations omitted). Here, Plaintiff’s conclusory statements about

potential future insolvency or bankruptcy resulting from compliance with the Law lack specificity

and are purely speculative because Plaintiff does not explain the effect that making severance

payments (or defending against lawsuits after refusing to pay) would have on its balance sheet or

what separate obligations it would be unable to meet as a result. Nor does Plaintiff provide an

estimate of the weekly or monthly amount of severance payments it would owe under the Law or

indicate at what point it contends it would be unable to continue to make such payments. Such

non-specific claims cannot establish that Plaintiff will imminently suffer irreparable harm. See,

e.g., Fox Ins. Co. v. Envision Pharm. Holdings, Inc., 2009 WL 790312, at *8 (E.D.N.Y. Mar. 23,

2009) (denying corporations’ motion for a preliminary injunction to compel payment by insurance

company where, among other things, corporations had not demonstrated that they were “in danger

of imminent insolvency”). Further, Plaintiff does not allege that any lawsuits have been

commenced, or even threatened, thus far. 5 And Plaintiff’s conjecture that the Union might quickly

seek an industry-wide arbitration award to enforce the Law against employers appears to be based



5 In any event, Plaintiff cannot establish that the injunction it actually seeks would avert alleged irreparable harm in
the form of litigation expenses resulting from lawsuits by private individuals. To the extent that Plaintiff seeks
injunctive relief “to stop Defendants from enforcing” the Law (Pl. Br. 1), such relief would not prevent private
individuals from seeking to enforce the Law through lawsuits. “When considering irreparable harm, ‘the injunction
must address the injury alleged to be irreparable — the Court should not grant the injunction if it would not so prevent
that injury.’” Marblegate Asset Mgmt. v. Educ. Mgmt. Corp., 75 F. Supp. 3d 592, 606-07 (S.D.N.Y. 2014) (quoting
Toney-Dick v. Doar, 2013 WL 1314954, *9 (S.D.N.Y. Mar. 18, 2013).


                                                           6
         Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 14 of 33




only on the Union’s past “liberal willingness to use the IC to demand ‘emergency’ hearings.” Pl.

Supp. Mem. 3-4. Because Plaintiff can only speculate as to the possibility of these harms, they do

not support Plaintiff’s application for injunctive relief.

        Moreover, Plaintiff’s claims of immediate irreparable harm are undermined by its delay in

seeking preliminary relief. See Citibank, N.A. v. Cityrust, 756 F.2d 271, 276 (2d Cir. 1985)

(holding delay in seeking preliminary injunction undercuts claims of “urgent need” for “such,

drastic speedy action” to protect plaintiff’s rights); Broecker v. New York City Dep’t of Educ., 2021

WL 226848 (S.D.N.Y. Nov. 24, 2021).. The Severance Law became effective on October 5, 2021,

yet Plaintiff did not seek a TRO/PI until November 18, 2021. Plaintiff states that it waited to seek

emergency relief because it wanted to first attempt to reach agreement with the Union “regarding

the Law’s applicability” (Plaintiff’s Application for OSC (ECF Doc. No. 19) p.3) but provides no

basis to believe that it had a reasonable expectation that the Union could or would alter the Law’s

application to its hotel.

B.    A Temporary Restraining Order Is Not in the Public Interest.

        Plaintiff argues that an injunction is in the public interest because the Law is

unconstitutional, it would harm the hotel industry in New York City, the Law was passed in a short

timeframe with little debate, and the Law might possibly lead to many lawsuits by former hotel

employees seeking payments pursuant to the Law. Pl. Br. at 5-6. Plaintiff’s view of the harms that

may result to the hotel industry in the New York City is unsupported, speculative, self-serving,

and insufficient to prevail on this prong. As stated above, Plaintiff’s constitutional claims lack

merit. Plaintiff’s remaining arguments address purported harm to Plaintiff, not to the public.             6




6 Plaintiff argues that “[t]he public interest requires that this Law be enjoined.” Supp. Mem. 5. As noted above,
federal courts can enjoin those tasked with enforcing a law, but not the law itself.


                                                       7
        Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 15 of 33




       As explained below, the Law was enacted in the public interest. The Law provides short-

term financial relief to a part of the City workforce that has faced, and continues to face, high rates

of unemployment as a result of the COVID-19 pandemic. It is also intended to incentivize the

reopening of the hotel industry, a key part of the tourism industry which in turn plays a significant

role in the City’s economic well-being. Thus, as Plaintiff has not shown that a temporary

restraining order is in the public’s interest, Plaintiff’s motion for temporary or preliminary

injunctive relief must be denied.

C.   The Severance Law Does Not Violate the Constitution’s Contracts Clause

       Plaintiff’s claim that the Severance Law violates the Contracts Clause of the United States

Constitution, Compl. ¶ 151, is not likely to succeed. The Contracts Clause—which is found in

Article I, Section 10, Clause 1 of the Constitution—provides that “[n]o State shall pass any . . .

Law . . . impairing the Obligation of Contracts.” But the prohibition on contractual impairment is

“not an absolute one and is not to be read with literal exactness like a mathematical formula.” U.S.

Trust Co. v. New Jersey, 431 U.S. 1, 21 (1977) (quotation marks omitted). Legislatures retain

“broad power” to adopt generally applicable laws “without being concerned that private contracts

will be impaired, or even destroyed, as a result.” Id. at 22. This is especially true where the

government is acting to “safeguard the vital interests of its people,” and to “protect the public

health.” Home Bldg. & Loan Ass’n v. Blaisdell, 290 U.S. 398, 434, 436 (1934).

       In order to establish a Contracts Clause claim, a plaintiff must establish three elements:

First, the challenged law must substantially impair an existing contract. See Energy Reserves Grp.,

Inc. v. Kan. Power & Light Co., 459 U.S. 400, 411 (1983). Second, if there is a substantial

impairment, courts consider if the challenged law serves a legitimate public purpose. Id. If the law

serves a legitimate public purpose, courts then consider if the law is appropriate and reasonable to

achieve that purpose. Id. at 412; Sveen v. Melin, 138 S. Ct. 1815, 1821-22 (2018).
                                                  8
            Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 16 of 33




               (a) There is No Contractual Relationship at Issue

           As a threshold matter, Plaintiff here fails to establish a violation of the Contracts Clause

because it has not pled a contractual relationship that has been infringed. “The [Contracts] clause

is clearly intended to protect benefits and rights of a party under a contract….” Stoneridge Apts.,

Co. v. Lindsay, 303 F Supp 677, 679 (S.D.N.Y. 1969) (emphasis added); see also Hagar v.

Reclamation Dist. No. 108, 111 US 701, 712-13 (1884) (“The plaintiff is not a party to the contract,

and is in no position to invoke its protection.”). Plaintiff does not allege that it is a party to the

Industry-Wide Agreement (“IWA”), a collective bargaining agreement between the New York

Hotel and Motel Trades Council, AFL-CIO (“Union”) and the Hotel Association of New York

City, Inc. (“HANYC”). 7 See Compl. at ¶ 7. Nor does Plaintiff allege that it is a member of

HANYC. 8 In fact, Plaintiff admits that another entity, Interstate, is the “sole employer of all

employees of the Roosevelt,” and that Plaintiff is merely “responsible for funding.” Compl. at ¶ 2.

While Plaintiff asserts that it has “obligations” under the IWA, it is silent on the basis of such

“obligations.” 9 Compl. at ¶¶ 2, 7. Such vague funding obligations alone are insufficient to create

a contractual relationship. See Russell v. Allied Textile Cos., Plc (in Re Carleton Woolen Mills,

Inc.), 288 B.R. 7 (Bank Ct. D.of Maine 2003) (parent company was not party to collective

bargaining agreement and thus despite having obligations under the law, was not obligated under

the collective bargaining agreement at issue and therefore could not assert a Contracts clause




7 Notably, neither party to the contract is a party to this litigation. In fact, HANYC is a Plaintiff in a related case
challenging the Severance Law, and did not assert a Contracts Clause claim. See 21-cv-8321 ECF 1 .

8Defendants do not concede that if Plaintiff were a member of HANYC that a contractual relationship would exist.
As Plaintiff does not allege that it is a member, legal argument on that point is not necessary.

9   Notably, the complaint is silent as to whether Interstate is a member of HANYC or is otherwise bound by the IWA.


                                                          9
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 17 of 33




claim). 10 Consequently Plaintiff has failed to make a clear showing of its entitlement to even

invoke the protections of the Contracts Clause.

              (b) The Law Does not Substantially Impair the IWA

         Even if, arguendo, there were a contractual relationship, Plaintiff is unlikely to succeed on

the merits of its Contracts Clause claim as the Severance Law does not substantially impair

obligations under the IWA. “Substantial impairments are those that ‘go to the heart of the contract,’

‘affect [the] terms upon which the parties have reasonably relied,’ or ‘significantly alter the duties

of the parties.’” Ambrose v. City of White Plains, 2018 WL 1635498, *18 (S.D.N.Y. 2018), aff’d,

Barr v. City of White Plains, 779 F App’x 765 (2d Cir. 2019). (citing Donohue v. Paterson, 715 F.

Supp. 2d 306, 318 (N.D.N.Y. 2010)). Any purported impairment of the IWA is not substantial for

a variety of reasons. As to the required severance payments, the Law does not “render[]. . . invalid,

or release[] or extinguish[]”obligations of the IWA. Blaisdell, 290 U.S. at 431 (1934). The Law

does not target any provisions of the IWA specifically, and the IWA provisions allegedly

impacted, in actuality remain intact. 11 The severance payments are an additional worker protection

from those already included in any contractual provision, which applies to hotels regardless of

whether they are a party to the IWA. 12 See Rhode Island Hospitality Ass’n v. City of Providence,

667 F.3d 17, 41 (1st Cir. 2011) (finding ordinance requiring successor hospitality employers to



10 The Court in Russell framed the issue as one of standing. Thus, Plaintiff also lacks standing to assert the Contracts
Clause claim, because as a non-party to the contract, Plaintiff has not suffered an injury in fact as a result of the alleged
interference with the contract.

11 Plaintiff concedes that the arbitration provisions remain applicable, as it argues in support of this motion that the
Union may invoke these provisions to enforce the Severance Law by seeking an emergency hearing before the
Impartial Chairperson (“IC”). See P. Supp. Brief at 9 (ECF 30).

12 In fact, to the extent severance pay under the IWA is being paid at the same time severance pay under the Law is
being paid, the Law provides that the weekly pay be reduced by the amount of the IWA severance pay. See Severance
Law § 2(b).


                                                            10
            Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 18 of 33




retain predecessor’s employees for three months upon change of employer’s identity did not

violate provisions of the collective bargaining agreement). Legislatures must have the ability to

implement workplace regulations to protect workers in vulnerable industries when they do not

interfere with an express contractual provision. General Motors Corp. v. Romein, 503 U.S. 181,

186-87, 190 (1992); California Grocers Assoc, v. City of Long Beach, 2021 WL 3500960, at *5

(C.D. Cal. Aug. 9, 2021) (ordinance requiring “premium pay” to grocery workers “is not so

dissimilar from other mandated benefits that it necessarily creates a substantial impairment”). 13

           Whether the regulation was foreseeable is a relevant factor in assessing whether the Law

is a substantial impairment. If the law at issue deals with a highly regulated area, it is typically

deemed foreseeable. See Energy Rsrvs. Grp., 459 U.S. at 413. The Severance Law regulates the

realm of employee-employer relationships, an area that is highly regulated and thus was

foreseeable. See S. Cal. Healthcare Sys. v. City of Culver City, 2021 WL 3160524 (C.D.Cal. July

23, 2021) (law requiring an increase in hourly salary for health care workers did not violate the

Contracts Clause). “Occupational safety, collective bargaining, minimum wages, worker’s

compensation, and other areas of legislation have left few aspects of the workplace unregulated.”

Gen.Offshore Corp. v. Farrelly, 743 F. Supp. 1177, 1198 (D.V.I. 1990) (statute limiting

employer’s ability to discharge employee did not violate Contracts Clause because it was not a

substantial impairment).

           There are a number of other reasons this the Law is not a substantial impairment of any

potential contract. The Law is temporary. 14 See Buffalo Teachers Fedn. v. Tobe, 464 F3d 362, 369




13Moreover, it is questionable whether Plaintiff’s characterization that the arbitration provisions preclude private
actions is supported by the law. Cf Smith v Evening News Assn., 371 U.S. 195 (1962).
14   The temporary nature of the Law also supports its reasonableness. See Buffalo Teachers, 464 F.3d at 372.


                                                          11
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 19 of 33




(2d Cir. 2006). It expires on June 22, 2021 and thus any rights and obligations created by the Law

likewise cease. See Severance Law. This is notable in light of the approximately decade-long

length of the IWA showing that a short-term obligation of at most 30-weeks does not interfere

with a heart of the bargain. Sveen, 138 S.Ct. at 1822. Further, the scope of the purported

infringement is limited. The Law only purportedly impairs two provisions 15 of a lengthy contract

with 74 Articles. See ECF 1-2. Another reason is that Plaintiff does not allege that the provisions

purportedly infringed are fundamental components of the IWA, or were a “primary inducement”

to enter into the contract, nor could it as has not proven that it is even a party to the contract.

Buffalo Teachers, 464 F.3d at 368 (emphasizing that the promise to pay was “the central provision”

of the contract at issue); Donohue v. Paterson, 715 F. Supp. 2d at 318 (describing substantial

impairments as those that “go to the heart of the contract”); see also Melendez v. City of NY, 2021

16 F.4th 992 (2d Cir. 2021) (Second Circuit crediting evidence in the record that landlords would

not enter into leases without the Guaranty clause which the law at issue potentially impaired).

Finally, any alleged impairment is avoidable. Plaintiff has a choice under the Law to either make

severance payments or reopen. If Plaintiff reopens in accordance with the Law, there is no overlap

or purported conflict with provisions of the IWA. Consequently, at best, the Law has a merely

incidental and insubstantial impact on the IWA and thus does not implicate the Contracts Clause.

         Plaintiff’s reliance upon Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 247 (1978),

in support of its argument that the Severance Law’s impairment is substantial, fails. See P. Supp

Memo at 6 (ECF 30). Allied Structural is readily distinguishable. In Allied Structural, the law at



15Plaintiff’s Supplemental Memorandum of Law (ECF 30) addresses a third provision of the IWA that is purportedly
impaired. However, the complaint does not allege such impairment, and thus it is not properly before the Court.
Moreover, Plaintiff has not asserted in the complaint or otherwise, that it is in the process of converting to residential
use, and thus the provisions Plaintiff complains about are inapplicable to Plaintiff.


                                                           12
         Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 20 of 33




issue retroactively changed the vesting requirements for the plaintiff’s pension plan, a fundamental

component of the pension plan, on which the company had relied in calculating its contributions

to the plan over the course of the previous ten years. The Court found that the law at issue created

“a completely unexpected liability in potentially disabling amounts.” Allied Structural, 438 U.S.

at 247. In contrast, the Severance Law does not impact any fundamental component of the IWA,

nor alter the benefits provided under it. Instead, it merely provides temporary additional benefits

to hotel employees, separate and apart from those provided under the IWA. “Simply adding a new

obligation, by itself, does not constitute ‘substantial’ impairment.” Bd. of County Commrs. v. E.

Prince Frederick Corp., 80 Md App 78, 559 A2d 822 (1989) (finding no substantial impairment

when a new fee was required and when steps to avoid greater impairment could be taken). While

it may be true that Plaintiff may not have anticipated paying this additional severance, 16 severance

pay is not the “heart” of the contract, therefore the Law does not cause substantial impairment. 17

             (c) The Law Serves a Public Purpose and is Reasonable and Appropriate

        Even if such optional, temporary, limited and incidental impact were deemed “substantial”

enough to trigger the remaining Contracts Clause analysis, Plaintiff’s is still unlikely to succeed

on its claim. The Law serves a legitimate public purpose—namely to provide financial assistance

to laid off hotel service workers, a group that remains 60% unemployed, and help incentivize the

reopening of the tourism industry, which plays a significant role in the economic well-being of

the City. See Barr v. City of White Plains, 779 F. App’x 765 (2d Cir. 2019); Buffalo Teachers, 464



16 Moreover, Plaintiff is silent as to what additional amount to be paid under the Law represents in the context of
Plaintiff’s overall assets and obligations.

17 Moreover, this alleged impairment is even less intrusive than other worker protection laws or minimum labor
standards that may permanently infringe upon terms of collective bargaining agreements, such as minimum wage.
See e.g. West Coast Hotel Co. v.Parrish, 300 U.S. 379 (1937).



                                                        13
        Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 21 of 33




F.3d at 369. Further, the Law is a reasonable and appropriate means to reach those goals. See

Energy Reserves, 459 U.S. at 411-12. “As is customary in reviewing economic and social

regulation, . . . courts properly defer to legislative judgment as to the necessity and reasonableness

of a particular measure.” United States Tr. Co. v. New Jersey, 431 U.S. 1, 22-23 (1977).

       Here, incentivizing hotels to reopen is a valid public purpose in light of the economic city-

wide benefits to the tourism industry, as are temporary severance payments to laid off employees

to support a workforce that has been significantly economically harmed by the pandemic.

Plaintiff’s argument that other sectors, such as restaurants, retail and beauty salons, have also

suffered does not undermine the reasonableness of the Law. See Compl. ¶111. Those sectors are

not comparable, as they reopened much earlier than the hotel sector. As set forth in the legislative

record, hotels have lagged behind these other sectors, resulting in hotel service workers not being

able to return to their jobs. See Kane Decl. Ex. 1. With regard to the goal of reopening the hotel

industry, the passage of the Law did, in actuality, incentivize some hotels to re-open. See Kane

Decl. Ex. 6 (https://therealdeal.com/2021/10/25/paying-the-severance-would-have-cost-more-

new-law-pushes-hotels-to-reopen/amp/ (last visited December 14, 2021)). Plaintiff’s assertion that

the hotel industry will be hurt by the Law is merely conclusory and self-serving.

       This important public purpose of incentivizing the hotel industry to reopen in order to

incentivize broader economic activity for the tourism sector, and to protect hotel workers is

reasonable and appropriate. This is particularly true where, as here, the Severance Law does not

impair a City contract because in those circumstances the Court “must accord substantial deference

to the [City’s] conclusion that its approach reasonably promotes the public purposes for which [it]

was enacted.” Elmsford Apt. Assocs., LLC, 2020 U.S. Dist. LEXIS 115354 at *36 (quoting Sal

Tinnerello & Sons, Inc. v. Town of Stonington, 141 F.3d 46, 54 (2d Cir. 1998)); see also Buffalo


                                                 14
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 22 of 33




Teachers, 464 F.3d at 369. Likewise, during the COVID-19 pandemic, other courts have deferred

to the legislative judgment of local legislatures in requiring hazard pay for certain grocery store

employees. Northwest Grocery Association, 526 F.Supp.3d at 897. Just as the Court found

protecting retention of grocery workers and the health of the community was a “significant and

legitimate” public purpose, so is supporting a vulnerable population of hotel workers while

incentivizing the revitalization of the tourism industry. Thus, the Court should “defer to legislative

judgment as to the necessity and reasonableness of a particular measure” in cases where the state

is not a contracting party.” Keystone Bituminous Coal Ass’n v. DeBenedictis, 480 U.S. 470, 505

(1987).

      Plaintiff’s reliance upon Melendez v. City of New York in support of its argument that the

Law is not reasonable or appropriate is misplaced. 18 See Compl. ¶ 111. Preliminarily, in Melendez,

the Second Circuit determined that the plaintiffs in that case pled a plausible claim under the

Contracts Clause, sufficient to survive the motion to dismiss, and did not rule on the plaintiffs’

motion for a preliminary injunction, but instead remanded it to the district court. See 16 F.4th at

996, 1038. Melendez is also factually distinguishable. In Melendez, the Court adopted a “sliding-

scale approach to the level of scrutiny to apply at the third step.” Id. at 1052 (Carney, J.,

dissenting). Thus, having found that the plaintiffs plausibly plead a significant and permanent

impairment of contract, heavily relying upon the evidence in the record that landlords would not

enter into commercial leases without a guaranty clause, Id. at 1034, the Court closely scrutinized

each component of the public goals of the Guaranty Law to assess whether it was narrowly tailored



18 The City filed a petition for rehearing en banc in Melendez. It is the City’s position that the additional factors
required under the Melendez decision are inconsistent with long-standing Supreme Court and Second Circuit precedent
providing for a deferential standard applied to social and economic legislation that does not impair a government
contract. See Melendez v. City of New York (2d Cir. No. 20-4238), ECF No. 149.


                                                        15
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 23 of 33




to reach those goals. See id. at 1040-46. Here, however, even if the Court finds it necessary to

reach this prong of the analysis, because the purported impairment is not significantly substantial

for the reasons described above, a deferential standard of review is warranted. 19 As explained

above, the Severance Law withstands such review.

D.    The Severance Law is Not Unconstitutionally Vague

         Plaintiff claims that the Severance Law violates the Due Process Clause of the Fourteenth

Amendment to the U.S. Constitution on its face and as applied to Plaintiff because the Law is

purportedly unconstitutionally vague. See Compl. ¶¶ 115-116. The “void-for-vagueness” doctrine

requires first that “laws be crafted with sufficient clarity to give the person of ordinary intelligence

a reasonable opportunity to know what is prohibited” and second that laws “contain minimal

guidelines to govern law enforcement.” Thibodeau v. Portuondo, 486 F.3d 61, 65-66 (2d Cir.

2007)(internal quotations omitted). Although “chiefly applied to criminal legislation[,]” Arriaga

v. Mukasey, 521 F3d 219, 222-23 (2d Cir 2008), when applied to laws with civil or economic

consequence, the law is subject to a less stringent vagueness test “because the consequences of

imprecision are qualitatively less severe” when dealing with civil or economic consequences. Vill.

of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498-99 (1982). “Uncertainty

in an economic regulation is not enough to render it unconstitutionally vague. ‘It must be



19  Plaintiff’s request for discovery on this aspect of its Contracts Clause claim should be denied. First, this Court
should decide the preliminary injunction motion based upon the briefing before it. The Law has been in effect since
October 5, 2021, and Plaintiff’s motion has been pending since November 18, 2021. Thus, any sense of urgency for a
TRO has long passed. Moreover, Plaintiff has had significant time to fully brief a PI motion. Second, discovery as to
whether the Law is reasonable and appropriate is not warranted. Plaintiff relies upon Melendez in its request for
discovery, however, the Court directed greater discovery in the context of the denial of the motion to dismiss, not the
preliminary injunction motion. Additionally, as argued above, a substantial-deference standard is applicable here and
the Court does not second-guess the legislature under such standard. Thus discovery in an attempt to attack the
legislature’s judgment is meaningless. Finally, Plaintiff has not even established that it is a party to the IWA and thus
there is no contractual relationship. Discovery on the last step of the analysis is unnecessary unless Plaintiff can meet
its burden with regard to the first step. To the extent the Court intends to consider Plaintiff’s request for discovery,
Defendants reserve their rights to further oppose such discovery, and to seek discovery from Plaintiff.


                                                          16
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 24 of 33




substantially incomprehensible.’” Ruiz, 679 F. Supp 341 at 351 (quoting Exxon Corp. v. Busbee,

644 F.2d 1030 (5th Cir), cert. denied, 454 U.S. 932 (1981)).. “Facial challenges are generally

disfavored” since courts are reluctant to rely on speculation, Dickerson v. Napolitano, 604 F.3d

732, 741 (2d Cir. 2010), or to formulate constitutional law that is broader than the particular facts

before the Court. See United States v. Raines, 362 U.S. 17, 21 (1960).

         Plaintiff is not likely to succeed on the merits of its due process challenges. Plaintiff goes

to great effort to attempt to create ambiguity in the Law despite the commonsense understanding

of the words and phrases they claim to be vague. For example, Plaintiff questions what it means

to be a “covered hotel service employee,” as well as the meaning of “permanently closed,”

“process,” “per year of service,” “similar pay,” and “confidential employee.” 20 Compl. ¶¶ 50-55.

However, each of these terms or their parts can readily be defined in the dictionary, and have

“meaning[s] that a person of ordinary intelligence would reasonably understand.” See Slattery v.

Cuomo, 2021 WL 1224008, *12 (N.D.N.Y. Mar. 31, 2021) (rejecting void-for-vagueness

challenge based on purported confusion as to whether unpaid interns and volunteers would be

deemed “employees” within meaning of statute) (appeal pending). See also United States v. Peters,

732 F.3d 93, 99 (2d Cir. 2013) (“When a term in a statute is undefined, we are to give it its ordinary

meaning.”); United States v Yücel, 97 F. Supp 3d 413, 420 (S.D.N.Y. 2015) (applying dictionary

meaning to allegedly vague terms and rejecting void for vagueness claim). As Plaintiff cannot

demonstrate ‘no set of circumstances exists under which the law would be valid[,]’” its facial




20As Plaintiff admits, federal labor law defines “confidential employee,” Compl. 55. See 22 U.S.C. § 4102(6) (defining
“confidential employee”). As this is a term typically used in labor relations, there is no reason to believe that any other
definition would be applicable to the Severance Law when defining categories of workers.


                                                           17
           Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 25 of 33




challenge fails. 21 Dickerson, 604 F.3d at 743 (citing United States v. Salerno, 481 U.S. 739, 745

(1987)).

         Nor can Plaintiff succeed on its “as-applied” claim. Not only has the Law not been enforced

against Plaintiff, Plaintiff does not even attempt to allege how the supposed “vague” terms cause

ambiguity in its attempt to comply with the Law. 22 See Copeland v. Vance, 893 F.3d 101, 110-11

(2d Cir. 2018)(stating that enforcement is the essence of an as-applied claim); New York State Rifle

& Pistol Ass'n v. Cuomo, 804 F.3d 242, 265 (2d Cir. 2014)(treating a “pre-enforcement” claim as

facial rather than as-applied).

E.    Plaintiff’s Substantive Due Process Rights Have Not Been Violated

         To the extent Plaintiff is also asserting a substantive due process claim, see Compl. at ¶

117, such claim also is not likely to succeed. “It is by now well established that legislative Acts

adjusting the burdens and benefits of economic life come to the Court with a presumption of

constitutionality, and that the burden is on one complaining of a due process violation to establish

that the legislature has acted in an arbitrary and irrational way.” Usery v. Turner Elkhorn Mining

Co., 428 U.S. 1, 15 (1976). Under rational basis review, “[a] court is ‘required to uphold’ a

challenged statutory provision ‘if there is any reasonably conceivable state of facts that could

provide a rational basis’ for it.” Vizio Inc. v. Klee, 2016 WL 1305116, *26 (D. Conn. Mar. 31,

2016) (quoting Sensational Smiles, LLC v. Mullen, 793 F.3d 281, 284 (2d Cir. 2015). Plaintiff has

the burden of demonstrating that the Severance Law is “‘arbitrary,’ ‘conscience-shocking,’ or



21 It is not clear whether a facial void for vagueness challenge may be made outside the context of the First
Amendment. However, the above standard is often applied. In addition, some Courts apply a slightly different
standard, requiring the proponent of the argument to demonstrate that “the law is ‘permeated’ with vagueness, and,
perhaps, that it infringes on a constitutional right and has no mens rea requirement.” Dickerson, 604 F.3d at 744.

 Indeed it is unclear whether Plaintiff is in compliance with the Law, despite that it has been effective for over two
22

months.


                                                         18
        Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 26 of 33




‘oppressive in the constitutional sense,’ not merely ‘incorrect or ill-advised.’” Ferran v. Town of

Nassau, 471 F.3d 363, 370 (2d Cir. 2006) (quoting Lowrance v. C.O. S. Achtyl, 20 F.3d 529, 537

(2d Cir. 1994)). Plaintiff cannot meet this burden.

       The Severance Law is intended to provide additional financial assistance to laid off hotel

service employees, a sector of workers significantly hurt by the pandemic that is still 60%

unemployed. See Kane Decl. Ex. 1 at 24. It also is directed at encouraging the reopening of the

hotel industry, which has lagged despite the increase in tourism in the past year, and is a significant

portion of the City’s revenue. See id. at 23. Plaintiff’s attempt at attacking these rational, and

legitimate basis for the Law is ineffective.

       Plaintiff’s arguments for why the Law is not rational boil down to the fact that Plaintiff

believes the Law is overinclusive in some regards, under-inclusive in others, not sufficiently

studied, and is not the most effective method to reach its stated goals. However, as the Second

Circuit explained, “[w]e will not strike down a law as irrational simply because it may not succeed

in bringing about the result it seeks to accomplish, because the problem could have been better

addressed in some other way, or because the statute's classifications lack razor-sharp precision.”

Beatie v. City of New York, 123 F.3d 707, 712 (2d Cir. 1997) (citations omitted). Nor does due

process require that scientific evidence support the legislative action. Id. at 712. Thus, as Plaintiff

failed to demonstrate that there are no “plausible rationales” for the Law, it has failed to meet its

burden and is not likely to succeed on its substantive due process claim. Id. at 712.

F.     Equal protection

       The Equal Protection Clause of the Fourteenth Amendment requires the government to

treat all similarly situated individuals alike. See City of Cleburne v. Cleburne Living Ctr., 473 U.S.

432, 439, (1985). See also Vill. of Willowbrook v. Olech, 528 U.S. 562, 564, (2000) (purpose of

the Equal Protection Clause is to secure against intentional and arbitrary discrimination). As
                                                  19
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 27 of 33




Plaintiff is not part of protected class, Plaintiff’s Equal Protection claim is pursuant to a class-of-

one theory. See Compl. at ¶ 132; See also Vill. of Willowbrook, 528 U.S. at 564. To prevail on

such a claim, a plaintiff must demonstrate that they were “treated differently than others similarly

situated as a result of intentional or purposeful discrimination.” Plaza Motors of Brooklyn, 2021

WL 222121, *5 (quoting Phillips v. Girdich, 408 F.3d 124, 129 (2d Cir. 2005)).

        Plaintiff has failed to identify similarly situated comparators. While it is not disputed that

“dining, arts, and entertainment, construction etc. all suffered during the pandemic[,]” Compl.

¶134, they did not all suffer to the same degree or in the same way that the hotel/tourism industry

has suffered, and thus are not similarly situated. As set forth in the legislative history of the law,

60% of hotel service workers remain unemployed. See Kane Decl. Ex. 1. Plaintiff has not alleged

facts to support that the same circumstances apply to the other industries it discusses. 23

        Even assuming, arguendo, that Plaintiffs have sufficiently alleged that they are similarly

situated to their comparators, Plaintiff’s class-of-one claim still fails because they have not plead

that their treatment is intentionally discriminatory. See Plaza Motors of Brooklyn, 2021 WL

222121, *6. Further, supporting laid off hotel workers and incentivizing the revitalization of the

hotel and tourism industry, which has lagged behind other industries, is a rational basis for treating

hotels differently than other industries. See Capitol Pedicabs, LLC. v. City of New York, 2017 U.S.

Dist. LEXIS 163994 (S.D.N.Y. 2017). While Plaintiff may disagree with Defendants’

methodology, “the Supreme Court has emphasized that ‘rational-basis review in equal protection

analysis is not a license for courts to judge the wisdom, fairness, or logic of legislative choices.”

Vizio, 2016 WL 1305116 (emphasis in original) (quoting Heller v. Doe , 509 U.S. 312, 319 (1993)).


23Although Plaintiff complains of the classifications within the law, specifically that the Law applies to 100 room
hotels and hotels with 99 rooms, and hotels that recall 24% of their workers but not 25%, Plaintiff lacks standing to
assert such arguments. Plaintiff has over 1000 hotel rooms and has not plead that it has reopened whatsoever.


                                                        20
        Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 28 of 33




G.   Plaintiff is not Likely to Succeed on its Claim of ERISA Preemption

       ERISA does not preempt all state laws relating to employee benefits. It preempts only laws

relating to employee benefit plans. Fort Halifax Packing Co. Inc. v. Coyne, 482 U.S. 1, 8 (1987)

(explaining that ERISA’s preemption clause was designed to avoid subjecting employee benefit

plans to different and potentially conflicting requirements in different states). Therefore, ERISA

does not preempt a local law requiring an employer to pay a severance benefit unless that law also

requires the employer to establish an ERISA employee benefit plan.

       Contrary to Plaintiff’s allegations (Compl. at ¶61), the Severance Law does not obligate

hotel employers to establish such a plan. An employer’s obligation to pay severance benefits

qualifies as an ERISA plan “only where such an undertaking or obligation requires the creation of

an ongoing administrative program.” Schonholz v. Long Island Jewish Med. Ctr., 87 F.3d 72, 75

(2d Cir. 1996). The Second Circuit has identified three factors to be used as “analytic tools” in

determining whether a particular obligation requires such a program: (1) whether the employer is

“required to analyze the circumstances of each employee’s termination separately in light of

certain criteria;” (2) “whether the employer’s undertaking or obligation requires managerial

discretion in its administration;” and (3) “whether a reasonable employee would perceive an

ongoing commitment by the employer to provide employee benefits.” Okun v. Montefiore Med.

Ctr., 793 F.3d 277 (2d Cir. 2015) (quoting Tischmann v. ITT/Sheraton Corp., 145 F.3d 561, 566

(2d Cir. 1998)).

       Applying these factors, courts have found an employer’s severance obligations to require

the establishment of an ongoing administrative program where the employer must make

individualized, subjective determinations as to each employee’s eligibility and/or payment

amount, and the employer must exercise such discretion over an extended period of time. For

example, in Okun, the Court held that the employer’s “multi-decade commitment to provide
                                               21
        Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 29 of 33




severance benefits to a broad class of employees under a wide variety of circumstances” was an

ERISA plan because its administration required an “individualized review” of eligibility to be

conducted on a “relatively regular basis,” 793 F.3d at 280. The Court explained that the breadth

and unlimited duration of the program meant that the employer would face “periodic demands on

its assets” that would “require long-term coordination and control” id. (quoting Fort Halifax, 482

U.S. at 12)). See also Schonholz, 87 F.3d at 76 (employer’s severance plan was ERISA plan where

employer was required to make subjective determinations, including as to whether each employee

was “making a reasonable and good faith effort to obtain suitable employment elsewhere”).

       By contrast, courts have held that severance obligations do not constitute ERISA plans

when they are to be administered over a limited period of time, and do not require more than

minimal discretion to administer. James v. Fleet/Norstar Fin. Group, 992 F.2d 463, 468 (2d Cir.

1993). In James, for example, the Second Circuit held that an employer’s undertaking to pay 60-

days additional pay to employees who stayed on during a planned consolidation was not an ERISA

plan where the employer was required to make only “clerical determination[s]” as to the

employees’ eligibility for payment and “arithmetic calculations” as to the amount of payment after

required deductions. Id. The Court explained that because the payments and the determinations

needed to make them would be made during a short period of time and in relation to a single event,

no “ongoing administrative program” would be needed “effectuate” the payments. Id. at 467-68.

       In this case, the limited determinations that the employer must make in order to comply

with the Severance Law, such as whether an employee was a managerial, supervisory or

confidential employee or otherwise exercised control over management of the hotel, and whether

the employee was laid off due to a closure or mass layoff, are the types of determinations would

be inherent in the administration of any severance program, and require only minimal discretion.


                                               22
        Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 30 of 33




See Atkins v. CB&I, L.L.C., 991 F.3d 667, 671 (5th Cir. 2021) (determination of whether employee

was “laid off in a reduction-in-force” required only “some exercise of judgment”); Golden Gate

Rest. Ass’n v. County of San Francisco, 546 F.3d 639, 651 (9th Cir. 2008) (compliance with law

requiring employers to make payments for certain employees, where “managerial, supervisorial,

or confidential employees” were excluded, did not require more than a “modicum of discretion”).

       The amount of the payment is set forth in the Law: $500 per week. Therefore, unlike in

Okun, the employer has no discretion in determining the amount. The only potential individualized

calculation required is a straightforward “arithmetical calculations” like those required in James—

subtraction of any other amounts the employer had already provided or owed for the same week.

See Nowak v. Int’l Fund Servs. (N.A.),, 2009 WL 2432715, *2 (S.D.N.Y. Aug. 7, 2009) (holding

severance undertaking not ERISA plan where there was no discretion as to timing, form or amount

of payments).

       Moreover, the Law is only in effect for approximately eight months, and the employer will

have no further obligations following its expiration. Therefore, any minimal discretion a hotel

employer may need to exercise in issuing payments would be limited in both time and scope and

would not require establishment of an ongoing administrative program. And no reasonable

employee would perceive the law as creating an ongoing commitment by the employer to provide

benefits. Taverna v. Credit Suisse First Boston (USA), 2003 WL 255250, *3 (S.D.N.Y. Feb. 4,

2003) (“no employee could reasonably believe” that employer was making an “ongoing

commitment to provide benefits” based on agreements that had a specified term). Therefore, the

Law does not meet the criteria for determining whether a severance obligation constitutes an

ERISA plan.




                                                23
        Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 31 of 33




H.     Plaintiff is not Likely to Succeed on its NLRA Preemption Claim

       The National Labor Relations Act (NLRA) does not contain an express preemption

provision; however, courts have interpreted it as establishing two forms of implied preemption,

commonly known as Garmon and Machinists. Neither form of preemption applies here.

       Garmon preemption “protects the primary jurisdiction of the [National Labor Relations

Board] to determine in the first instance what kind of conduct is either prohibited or protected by

the NLRA.” Met Life, 471 U.S. at 749. Therefore, under the Garmon Rule, a state or local law that

purports to “regulate or prohibit . . . conduct” that is “subject to the regulatory jurisdiction of the

NLRB” will be preempted. Id. at 748-49. In this case, the Severance Law does not purport to

regulate or prohibit any conduct that is within the NLRB’s jurisdiction.

       Machinists preemption applies to laws that “regulate[] the use of economic weapons that

are recognized and protected under the NLRA such that the state or local government has entered

‘into the substantive aspects of the bargaining process to an extent Congress has not

countenanced.’” Rondout Elec., Inc. v. N.Y. State DOL, 335 F.3d 162, 167 (2d Cir. 2003) (quoting

Lodge 76, Int’l Ass’n of Machinists & Aerospace Workers, AFL-CIO v. Wisconsin Employment

Relations Comm’n, 427 U.S. 132, 149 (1976)). It does not apply to local laws that establish

“minimum employment standards that labor and management would otherwise have been required

to negotiate from their federally protected bargaining positions,” commonly known as minimum

labor standards. Metropolitan Life Ins. Co. v. Mass., 471 U.S. 724, 751 (1985). Such standards do

not conflict with the goals of the NLRA because they “affect union and nonunion employees

equally,” “neither encourage nor discourage the collective-bargaining processes that are the

subject of the NLRA,” and fall within “the broad authority” of local “police powers to regulate the

employment relationship to protect workers.” Id. at 755, 757. The Severance Law establishes such



                                                  24
          Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 32 of 33




a minimum standard and is therefore not preempted. See Fort Halifax, 482 U.S. 1 (upholding state

law requiring severance payments as minimum labor standard).

         Plaintiff makes several arguments as to why the Law should not qualify as a minimum

labor standard, each of which fails. First, Plaintiff argues that the Law cannot be a minimum labor

standard because it has an “impermissibly narrow scope.” Compl. ¶76. This argument has been

rejected by the Second Circuit, which held, in Concerned Home Care Providers, Inc. v. Cuomo,

783 F.3d 77, 86, n.8 (2d Cir. 2015), that Machinists preemption does not “eliminate state authority

to craft minimum labor standards for particular regions or areas of the labor market.” Id. Second,

Plaintiff argues that it cannot be a minimum labor standard because it “treats union and non-union

employees differently.” Compl. ¶77. But examination of the text of the law reveals no such

differential treatment. 24 Third, Plaintiff argues that the Law is too burdensome. 25 Compl. ¶¶ 82-

85. However, like the law upheld in Concerned Home Care providers, the Law merely requires

employers to make certain minimum payments to [in this case, former] employees. 26 See Rondout,

335 F.3d at 168 (stating that imposition of additional costs on employer is “insufficient to invoke

NLRA preemption”).




24The provisions that Plaintiff argues impose differing treatment— (see Compl. ¶¶ 78-80) actually serve to prevent
unequal treatment by preserving the background status quo for all employees.
25 To the extent Plaintiff argues that the Law is not a true minimum labor standard because the hotel workers’ union
lobbied the City Council in favor of it (Compl. ¶¶ 72-73), this argument also fails. See, e.g., Concerned Home Care
Providers, 783 F.3d at 87 .
26 Plaintiff’s reliance 520 S. Mich. Ave. Assocs., Ltd. v. Shannon, 549 F.3d 1119 (7th Cir. 2008), for its argument that
the Law is not a minimum labor standard is misplaced. As an initial matter, the Second Circuit has questioned whether
Shannon was correctly decided. See Concerned Home Care Providers, 783 F.3d at n.8. In any event, the amendment
at issue in Shannon was materially different from the Law at issue here. See id.


                                                          25
         Case 1:21-cv-09322-JPO Document 33 Filed 12/14/21 Page 33 of 33




Dated:        New York, New York
              December 14, 2021
                                     GEORGIA M. PESTANA
                                     Corporation Counsel
                                       of the City of New York
                                     Attorney for Defendant HPD
                                     100 Church Street
                                     New York, New York 10007
                                     (212) 356-4371


                                     _________________________
                                     By: Melanie V. Sadok
                                          Rachel B. Kane
                                          Susan A.M. Turk
                                     Assistant Corporation Counsel




                                       26
